             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:09-cr-00026-MR-4



UNITED STATES OF AMERICA,       )
                                )
         vs.                    )                   ORDER
                                )
                                )
TRACY BERNARD GIBSON.           )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) [Doc. 463], filed

June 28, 2012.

     Subsequent to the filing of the Defendant’s Motion, the Fourth Circuit

Court of Appeals vacated the Defendant’s sentence and remanded the

case for resentencing in light of Dorsey v. United States, 567 U.S. __, 132

S.Ct. 2321, 183 L.Ed.2d 250 (2012). See United States v. Gibson, No. 10-

5118 (4th Cir. Jan. 14, 2013). The Defendant was resentenced on March

20, 2013, and an Amended Judgment was entered on April 2, 2013. [Doc.

486]. As such, the Defendant’s Motion has been rendered moot.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2) [Doc. 463] is

DENIED AS MOOT.


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  IT IS SO ORDERED.
                            Signed: April 25, 2013




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